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                                IN THE UNITED STATES DISTRICT COURT
 9
                                   EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          CASE NO. 2:16-CR-0009 TLN

12                                Plaintiff,            [PROPOSED] ORDER AFTER HEARING ON
                                                        DEFENDANT’S MOTION FOR DISCOVERY
13                         v.

14   JUAN VILLANUEVA,

15                               Defendant.

16

17          On March 25, 2020, the Court heard argument on defendant Juan Villanueva’s motion for

18 discovery. Docket No. 111. Defendant’s counsel, Steve Teich, Esq., appeared by phone and Assistant

19 U.S. Attorney Jason Hitt, appeared for the government by phone. Counsel for defendant Villanueva

20 waived the defendant’s right to appear for this hearing.

21          For the reasons set forth orally by the Court and recorded in the audio recording of the March 25

22 hearing, the Court rules as follows:

23          1. The following Requests of the Defendant are DENIED for the reasons stated on the record

24             during the hearing on this motion: Request Numbers 1–9, 13–36, and 40–45.

25          2. Request Number 10 is granted in part and denied in part. Specifically, the Court GRANTS

26             the part of defendant’s Request Number 10 that requests production of any agent notes and

27             documents from surveillance conducted between 2:30 p.m. and 5:00 p.m., on December 15,

28             2015, at TGS Transportation, in Stockton, California, in connection with this case, if they

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 1           exist. The part of Request Number 10 is DENIED without prejudice because they were
 2           raised in the Reply Brief and not addressed in the defendant’s opening brief and for reasons
 3           stated during the hearing on this motion.
 4        3. Request Numbers 11 and 12 are DENIED based upon the representations of the government
 5           during the hearing on this motion that there are no other audio recordings or notes of
 6           statements of defendant other then was already summarized in the reports provided.
 7        4. Requests raised in the Reply Brief as to Co-Defendant Richard Lopez and Co-Defendant
 8           Rodriguez-Rodriguez as to their rap sheets and their prior statements are GRANTED based
 9           upon the government’s agreement to produce such material twenty-one days before trial in
10           this case. In addition, the government will seek to learn if Co-Defendant Rodriguez-
11           Rodriguez has been deported and will notify defense counsel upon obtaining this information
12           prior to trial.
13        5. Request Numbers 37–38 in the Reply Brief are DENIED without prejudice to renewing these
14           requests because they were raised in the Reply Brief and not addressed in the defendant’s
15           opening brief.
16        6. Request Number 39 in the Reply Brief is DENIED because it is properly addressed to the
17           district court and its authority to schedule due dates connected to the trial, including the filing
18           of an exhibit list.
19        IT IS SO ORDERED.
20 DATED: April 3, 2020.                                        _________________________________
                                                                EDMUND F. BRENNAN
21                                                              UNITED STATES MAGISTRATE JUDGE
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